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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-0124-TOR-2
 8                               Plaintiff,            2:13-CR-0124-TOR-4

 9          v.                                     PROTECTIVE ORDER

10    SIAOSILEPELENISE L.
      TUAIMALO,
11    DANIEL C. VILLALOBOS,

12                              Defendants.

13         BEFORE THE COURT are the United States’ Motion for Protective Order

14   (ECF No. 236) and Motion to Expedite (ECF No. 237). The matters were

15   submitted for consideration without oral argument. The Court has reviewed the

16   motions and the file therein and is fully informed. The United States seeks a

17   protective order to govern the dissemination of discovery material in this matter.

18   For good cause shown, the motions are granted.

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     PROTECTIVE ORDER ~ 1
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 1         ACCORDINGLY, IT IS HEREBY ORDERED:

 2         1.     The United States has and will provide discovery materials on an

 3   on-going basis to defense counsel;

 4         2.     Defense counsel may possess but not copy (excluding the production

 5   of necessary working copies) all discovery materials, including sealed documents;

 6         3.     Defense counsel may show to, and discuss with, his/her client all

 7   discovery material, including sealed documents;

 8         4.     Defense counsel shall not provide original or copies of discovery

 9   materials directly to his/her client or any other individual outside the Defendant’s

10   “trial team”, which only includes co-counsel, investigators, and experts. All

11   members of the Defendant’s trial team are subject to this Order. “Copies” includes

12   copies of actual discovery, written summaries of discovery, and quotations taken

13   from discovery.

14         5.     Defense counsel shall not otherwise provide original or copies of the

15   discovery material to any other person, including subsequently appointed or

16   retained defense counsel, but excluding any staff of defense counsel or investigator

17   and/or expert engaged by defense counsel, who will also be bound by the terms

18   and conditions of the protective order. If the Discovery is provided to a Court

19   appointed "expert" or investigator under the parameters of this Order, that expert of

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     PROTECTIVE ORDER ~ 2
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 1   investigator is subject to this Protective Order and therefore subject to Sanctions

 2   for violation;

 3         6.     The United States and defense counsel may reference the existence

 4   and content of sealed or protected discovery material in open and closed court

 5   proceedings relevant to 13-CR-00124-TOR.

 6         7.     The parties reserve the right to seek relief from the Protective Order

 7   should the need arise.

 8         9.     Defense counsel shall inform their client of the potential penalties for

 9   violations of this Protective Order contained in Fed. R. Crim.P. 16(d)(2), and that

10   any violation of this Protective Order may be punished by contempt.

11         The District Court Executive is hereby directed to enter this Order and

12   furnish copies to counsel.

13         DATED August 13, 2015.

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15                                   THOMAS O. RICE
                                  United States District Judge
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     PROTECTIVE ORDER ~ 3
